         Case 1:19-cr-00561-LAP Document 164 Filed 09/04/20 Page 1 of 5



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,

          -versus-                                 19-CR-561 (LAP)
                                                   11-CV-691 (LAK)
STEVEN DONZIGER,
                                                         ORDER
                 Defendant.


LORETTA A. PRESKA, SENIOR UNITED STATES DISTRICT JUDGE:

    The Court is in receipt of Mr. Garbus’s e-mails, attached

as Exhibits A and B to this order, about his representing Mr.

Donziger.     Mr. Garbus may continue to represent Mr. Donziger and

will receive ECF notifications so long as his notice of

appearance remains active.        Mr. Garbus is advised that any

further substantive communications about this case must be in

the form of letters filed on ECF, not e-mails to Chambers.


SO ORDERED.

Dated:     September 4, 2020
           New York, New York


                                           ____________________________
                                           LORETTA A. PRESKA, U.S.D.J.
Case 1:19-cr-00561-LAP Document 164 Filed 09/04/20 Page 2 of 5




                    Exhibit A
                     Case 1:19-cr-00561-LAP Document 164 Filed 09/04/20 Page 3 of 5




From: Garbus, Mar n <mgarbus@offitkurman.com>
Sent: Thursday, September 3, 2020 10:29:57 PM
To: Benjamin Albert <Benjamin_Albert@nysd.uscourts.gov>
Cc: Rita M. Glavin <glavin@sewkis.com>
Subject:



Dear Ben

Can you forward this to Judge Preska

Dear Judge Preska

Your order of this evening concerning me has just been bought to my attention.

There is no way that I can participated in this trial. I will not repeat our past communications.
I withdraw my notice of appearance

Thank you

Respectfully
Martin Garbus

PRIVILEGED COMMUNICATION/PRIVACY NOTICE
Information contained in this transmission is attorney­client privileged and confidential. It is solely intended for use by the individual or entity named
above. If the reader of this message is not the intended recipient, you are hereby notified that any dissemination, distribution or copying of this
communication is strictly prohibited. If you have received this communication in error, please immediately notify us by telephone and delete this
communication.

Any tax advice included in this communication may not contain a full description of all relevant facts or a complete analysis of all relevant tax issues
or authorities. This communication is solely for the intended recipient’s benefit and may not be relied upon by any other person or entity.
Case 1:19-cr-00561-LAP Document 164 Filed 09/04/20 Page 4 of 5




                    Exhibit B
                     Case 1:19-cr-00561-LAP Document 164 Filed 09/04/20 Page 5 of 5




From: Garbus, Mar n <mgarbus@offitkurman.com>
Sent: Thursday, September 3, 2020 11:10:36 PM
To: Benjamin Albert <Benjamin_Albert@nysd.uscourts.gov>
Cc: Rita M. Glavin <glavin@sewkis.com>
Subject:



Ben
Can you deliver this to Judge Preska

Dear Judge Preska

I believe Mr Donziger should have counsel available to him to speak on his behalf as we go through this pre trial period.

I was prepared to do that for I thought we understood that I would not participate in any trial now being sought

If that is incorrect, and if withdrawing my notice of appearance is necessary to end that possibility, and the court prefers
that I withdraw my notice of appearance, I of course shall withdraw the notice.

I prefer otherwise but it seems my present understandings and thoughts are not the path this Court wishes to follow.

Respectfully
Martin Garbus

PRIVILEGED COMMUNICATION/PRIVACY NOTICE
Information contained in this transmission is attorney­client privileged and confidential. It is solely intended for use by the individual or entity named
above. If the reader of this message is not the intended recipient, you are hereby notified that any dissemination, distribution or copying of this
communication is strictly prohibited. If you have received this communication in error, please immediately notify us by telephone and delete this
communication.

Any tax advice included in this communication may not contain a full description of all relevant facts or a complete analysis of all relevant tax issues
or authorities. This communication is solely for the intended recipient’s benefit and may not be relied upon by any other person or entity.
